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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA



   IRA KLEIMAN, aS the personal            CASE NO.: 9:18‑CV‑80176‑BB/BR
   representative ofthe Estate ofDavid
   KIeiman, and W&K Info Defense
   Research, LLC,

                Plaint郷,




   CRAIG WRIGHT,

                De/2? nddn t.



                          DECLARATION OF GORDON L. KLEIN
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         I, Gordon L. Klein, declare as follows:

         1.   I am over the age of 21 and competent in all respects to execute this declaration・



  All ofthe matters stated herein are true and correct and within my personal knowledge.


         2.   At my deposition in this case on Apri1 30, 2020        I referenced what members ofthe


  accounting profession commonly call the          DOGS framework.    Counsel for Defendant did not



  inquire further regarding this specific framework or more generally regarding my methodoIogy.


         3.     DOGS" is an acronym for the we11‑eStablished guideposts that I listed in Section



  V ofmy Report in this case. The letters in the     DOGS   acronym refer to: (1) Decision‑making that


  is shared; (2) Ownership (as opposed to a non‑OWnerShip relationship such as pa正cipation as an



  empIoyee or commissioned independent contractor); (3) Goals that are shared; and (4) Skills that

  are complementary and non‑ministerial.


         I declare皿der penalty of peIjury under the laws of the United States of America that the



  foregoing is true and correct. Executed on this 21st day ofMay, 2020.
